    Case 1:21-cr-00065-RJD Document 10 Filed 07/27/20 Page 1 of 8 PageID #: 53





                       ,17+(81,7('67$7(6',675,&7&2857
                      )257+(($67(51',675,&72)1(:<25.


    81,7('67$7(62)$0(5,&$                        &$6(180%(50
                                                    
        Y                                         $)),'$9,7,168332572)
                                                    5(48(67)25(;75$',7,21
    5,&$5'2$/%(5720$57,1(//,
    /,1$5(6
    
    

,0LFKDHO/HZDQGRZVNLEHLQJGXO\VZRUQGHSRVHDQGVWDWH

     ,UHVLGHLQWKH8QLWHG6WDWHVRI$PHULFD

     6LQFH,KDYHEHHQHPSOR\HGDVD6SHFLDO$JHQWRIWKH)HGHUDO%XUHDXRI

        ,QYHVWLJDWLRQ ³)%,´   

     7KH)%,LVUHVSRQVLEOHIRUWKHHQIRUFHPHQWRIIHGHUDOODZVLQFOXGLQJWKRVHUHODWHGWR

        FRUUXSWLRQDQGPRQH\ODXQGHULQJ  $VDQ)%,6SHFLDO$JHQW,KDYHUHFHLYHGWUDLQLQJ

        DQGFRQGXFWHGRUDVVLVWHGLQQXPHURXVLQYHVWLJDWLRQVRIFRQVSLUDF\FRUUXSWLRQDQG

        PRQH\ODXQGHULQJ  ,KDYHGHEULHIHGQXPHURXVGHIHQGDQWVLQIRUPDQWVDQGZLWQHVVHV

        ZLWKSHUVRQDONQRZOHGJHUHJDUGLQJFRQVSLUDF\FRUUXSWLRQDQGPRQH\ODXQGHULQJ 

        $GGLWLRQDOO\,KDYHSDUWLFLSDWHGLQPDQ\DVSHFWVRILQYHVWLJDWLRQVLQFOXGLQJDQDO\VLVRI

        ILQDQFLDODQGFRPPXQLFDWLRQVUHFRUGVXQGHUFRYHURSHUDWLRQVVXUYHLOODQFHDQGDUUHVWV 

        7KHLQYHVWLJDWLRQVLQZKLFK,KDYHSDUWLFLSDWHGKDYHEHHQUHODWHGWRWKHXQODZIXO

        SD\PHQWDQGSURYLVLRQRIRWKHUWKLQJVRIYDOXHWRSXEOLFRIILFLDOVIUDXGRUJDQL]HGFULPH

        DQGPRQH\ODXQGHULQJDPRQJRWKHUWKLQJV

     %DVHGRQP\WUDLQLQJSHUVRQDOH[SHULHQFHDQGSDUWLFLSDWLRQLQFULPLQDOLQYHVWLJDWLRQV,

        KDYHEHFRPHIDPLOLDUZLWKWKHPHWKRGVDQGWHFKQLTXHVXVHGE\LQGLYLGXDOVHQJDJHGLQ


    Case 1:21-cr-00065-RJD Document 10 Filed 07/27/20 Page 2 of 8 PageID #: 54





        PRQH\ODXQGHULQJLQFOXGLQJWHFKQLTXHVWRFRQFHDOWKHQDWXUHVRXUFHDQGRZQHUVKLSRI

        FULPLQDOSURFHHGVWKHXVHRIRIIVKRUHFRUSRUDWHHQWLWLHVWRKROGEDQNDFFRXQWVWKHXVHRI

        IDOVHEHQHILFLDORZQHUVIRUEDQNDFFRXQWVWKHXVHRIIDOVHFRQWUDFWVDQGLQYRLFHVWR

        E\SDVVDQWLPRQH\ODXQGHULQJSURWHFWLRQVDQGWKHOD\HULQJRIWUDQVDFWLRQVDPRQJEDQN

        DFFRXQWVKHOGLQYDULRXVIRUHLJQMXULVGLFWLRQV  

     ,DPRQHRIWKHDJHQWVDVVLJQHGWRWKLVFDVHZKLFKLQYROYHVDQLQYHVWLJDWLRQRIWKH

        FULPLQDOFRQGXFWLQFOXGLQJFRQVSLUDF\DQGPRQH\ODXQGHULQJRI5,&$5'2$/%(572

        0$57,1(//,/,1$5(6DQGRWKHUV  ,DPIDPLOLDUZLWKWKHFKDUJHVDQGWKHHYLGHQFH

        LQWKHFDVHDJDLQVW5,&$5'2$/%(5720$57,1(//,/,1$5(6  7KHHYLGHQFH

        LQFOXGHVLQIRUPDWLRQREWDLQHGIURPZLWQHVVHVDVZHOODVEDQNUHFRUGVFRUSRUDWLRQ

        RZQHUVKLSGRFXPHQWVHPDLOVDQGRWKHUHYLGHQFH  

     7KHIDFWVRIWKLVDIILGDYLWDUHEDVHGXSRQP\ILUVWKDQGNQRZOHGJHFRQYHUVDWLRQV,KDYH

        KDGZLWKRWKHUODZHQIRUFHPHQWRIILFHUVLQYROYHGLQWKLVLQYHVWLJDWLRQDQGZLWK

        FRRSHUDWLQJZLWQHVVHVDVZHOODVP\UHYLHZRIWKHGRFXPHQWDU\DQGSK\VLFDOHYLGHQFH 

        7KHIROORZLQJLVPHUHO\DVXPPDU\RIWKHHYLGHQFHREWDLQHGGXULQJWKLVLQYHVWLJDWLRQ

        DQGGRHVQRWUHIOHFWP\HQWLUHNQRZOHGJHRIWKHLQYHVWLJDWLRQ  ,QDGGLWLRQWKHHYLGHQFH

        GLVFXVVHGLQWKLVDIILGDYLWGRHVQRWUHSUHVHQWDOORIWKHHYLGHQFHFROOHFWHGGXULQJWKH

        LQYHVWLJDWLRQ

                                6800$5<2)7+((9,'(1&(

     /DZHQIRUFHPHQWDXWKRULWLHVKDYHEHHQFRQGXFWLQJDQLQYHVWLJDWLRQLQWR2GHEUHFKW6$

        ³2GHEUHFKW´ D%UD]LOLDQFRPSDQ\RSHUDWLQJLQDWOHDVWFRXQWULHVLQLQGXVWULHV

        LQFOXGLQJHQJLQHHULQJFRQVWUXFWLRQLQIUDVWUXFWXUHHQHUJ\FKHPLFDOVXWLOLWLHVDQGUHDO

                                                   

    Case 1:21-cr-00065-RJD Document 10 Filed 07/27/20 Page 3 of 8 PageID #: 55





        HVWDWH  7KHLQYHVWLJDWLRQUHODWHVWRDPDVVLYHEULEHU\DQGPRQH\ODXQGHULQJVFKHPHE\

        2GHEUHFKWDQGRWKHUVLQFOXGLQJ5,&$5'2$/%(5720$57,1(//,/,1$5(6WR

        SD\EULEHVWRSXEOLFRIILFLDOVDQGSXEOLFVHUYDQWVLQVHYHUDOFRXQWULHVDQGWRODXQGHUWKH

        SURFHHGVRIWKHEULEHU\VFKHPH  

     7KHLQYHVWLJDWLRQLGHQWLILHG5,&$5'2$/%(5720$57,1(//,/,1$5(6DVDQ

        LQWHUPHGLDU\ZKRDFFHSWHGDQGODXQGHUHGEULEHSD\PHQWVIURP2GHEUHFKWRQEHKDOIRI

        ³3DQDPD*RYHUQPHQW2IILFLDO´DKLJKUDQNLQJJRYHUQPHQWRIILFLDOLQ3DQDPDIURP

        DSSUR[LPDWHO\XQWLODSSUR[LPDWHO\  3DQDPD*RYHUQPHQW2IILFLDOZDVD

        FORVHUHODWLYHRI5,&$5'2$/%(5720$57,1(//,/,1$5(6

     'XULQJWKHFRXUVHRIWKHLQYHVWLJDWLRQ,PHWZLWK5,&$5'2$/%(5720$57,1(//,

        /,1$5(6LQSHUVRQRQVHYHUDORFFDVLRQV

    2Q'HFHPEHU2GHEUHFKWWKURXJKLWVUHSUHVHQWDWLYHVSOHDGHGJXLOW\LQ1HZ

        <RUNDQGDGPLWWHGWKDWEHWZHHQDQGDSSUR[LPDWHO\2GHEUHFKWWKURXJK

        FHUWDLQRILWVHPSOR\HHVDQGDJHQWVDQGWRJHWKHUZLWKRWKHUFRFRQVSLUDWRUVHQJDJHGLQD

        PDVVLYHEULEHU\VFKHPHLQZKLFKWKHFRFRQVSLUDWRUVDJUHHGZLWKRWKHUVWRFRUUXSWO\SD\

        RYHU86'PLOOLRQLQEULEHVWRDQGIRUWKHEHQHILWRISXEOLFVHUYDQWVSXEOLF

        RIILFLDOVSROLWLFDOSDUWLHVSROLWLFDOSDUW\RIILFLDOVDQGSROLWLFDOFDQGLGDWHVWRREWDLQDQG

        UHWDLQEXVLQHVVDQGWRJDLQDQDGYDQWDJHDQGEHQHILWIURPWKHSXEOLFVHUYDQWVDQGIRUHLJQ

        RIILFLDOVLQYDULRXVFRXQWULHVDURXQGWKHZRUOGLQFOXGLQJSXEOLFRIILFLDOVDQGSXEOLF

        VHUYDQWVLQ3DQDPD  2GHEUHFKW¶VEULEHU\VFKHPHLQFOXGHGFRUUXSWSD\PHQWVDQGWKH

        SURYLVLRQRIRWKHUWKLQJVRIYDOXH



                                                    

    Case 1:21-cr-00065-RJD Document 10 Filed 07/27/20 Page 4 of 8 PageID #: 56





    2GHEUHFKWDGPLWWHGDQGWKHLQYHVWLJDWLRQKDVLGHQWLILHGHYLGHQFHGHPRQVWUDWLQJWKDW

        2GHEUHFKWFRQFHDOHGWKHQDWXUHVRXUFHRZQHUVKLSDQGFRQWURORIWKHSURFHHGVRIWKH

        EULEHU\VFKHPHE\IXQQHOLQJWKHSURFHHGVRIWKHVFKHPHWKURXJKRIIVKRUHVKHOOFRPSDQ\

        EDQNDFFRXQWVWRWKHXOWLPDWHEHQHILFLDULHVRIWKHEULEHVDQGWKHLUUHSUHVHQWDWLYHV

    2GHEUHFKWDGPLWWHGDQGWKHLQYHVWLJDWLRQKDVLGHQWLILHGHYLGHQFHGHPRQVWUDWLQJWKDW

        2GHEUHFKWWRJHWKHUZLWKFHUWDLQRILWVHPSOR\HHVDQGDJHQWVFDXVHGZLUHWUDQVIHUVWREH

        PDGHIURP2GHEUHFKWUHODWHGEDQNDFFRXQWVWRRIIVKRUHVKHOOFRPSDQ\EDQNDFFRXQWV

        FRQWUROOHGE\2GHEUHFKWLQFOXGLQJWKURXJK1HZ<RUNEDVHGDFFRXQWV  )XQGVLQWHQGHG

        IRUWKHLOOHJDOEULEHSD\PHQWVZHUHWKHQWUDQVIHUUHGWKURXJKPXOWLSOHRIIVKRUHVKHOO

        FRPSDQ\EDQNDFFRXQWVWKURXJKRXWWKHZRUOGLQFOXGLQJWKURXJK1HZ<RUNEDVHG

        DFFRXQWVEHIRUHUHDFKLQJWKHILQDOEULEHUHFLSLHQWV  

    5HFRUGVDQGLQIRUPDWLRQSURYLGHGE\2GHEUHFKWDQGREWDLQHGWKURXJKWKHFRXUVHRIWKH

        LQYHVWLJDWLRQVKRZWKDW2GHEUHFKWXVHGDQDJHQWLQWKH8QLWHG6WDWHVWRSXUFKDVHRIIVKRUH

        VKHOOFRPSDQLHVIRU2GHEUHFKWWRVHQGDQGUHFHLYHGRFXPHQWVWRIDFLOLWDWHWKH

        HVWDEOLVKPHQWRIRIIVKRUHEDQNDFFRXQWVLQWKHQDPHRIRIIVKRUHVKHOOFRPSDQLHVIRU

        2GHEUHFKW  2GHEUHFKWDOVRXVHGWKLVDJHQWLQWKH8QLWHG6WDWHVWRVHQGDQGUHFHLYH

        GRFXPHQWVFHUWDLQRIZKLFKFRQWDLQHGIDOVHDQGIUDXGXOHQWLQIRUPDWLRQWRFDXVH

        ILQDQFLDOWUDQVDFWLRQVWREHFRQGXFWHGIURPRIIVKRUHVKHOOFRPSDQ\EDQNDFFRXQWV

        LQFOXGLQJILQDQFLDOWUDQVDFWLRQVWKDWXWLOL]HG86FRUUHVSRQGHQWEDQNDFFRXQWV  

    %HWZHHQDSSUR[LPDWHO\$XJXVWDQG-XO\5,&$5'2$/%(572

        0$57,1(//,/,1$5(6DQGKLVEURWKHU/XLV(QULTXH0DUWLQHOOL/LQDUHVWRJHWKHUZLWK

        RWKHUVSDUWLFLSDWHGLQWKH2GHEUHFKWEULEHU\VFKHPHE\DPRQJRWKHUWKLQJVVHUYLQJDV

                                                   

    Case 1:21-cr-00065-RJD Document 10 Filed 07/27/20 Page 5 of 8 PageID #: 57





        LQWHUPHGLDULHVIRUFRUUXSWSD\PHQWVDQGWKHSURYLVLRQRIRWKHUWKLQJVRIYDOXHWKDW

        2GHEUHFKWRIIHUHGDQGSURYLGHGWR3DQDPD*RYHUQPHQW2IILFLDO  )LQDQFLDOUHFRUGV

        REWDLQHGGXULQJWKHFRXUVHRIWKHLQYHVWLJDWLRQUHYHDOHGWKDWDPRQJRWKHUWKLQJV

        5,&$5'2$/%(5720$57,1(//,/,1$5(6DQG/XLV(QULTXH0DUWLQHOOL/LQDUHV

        HVWDEOLVKHGRIIVKRUHEDQNDFFRXQWVLQWKHQDPHVRIRIIVKRUHVKHOOFRPSDQLHVWRUHFHLYH

        DQGGLVJXLVHEULEHSD\PHQWVIURP2GHEUHFKWPDGHIRUWKHEHQHILWRI3DQDPD

        *RYHUQPHQW2IILFLDO

    (YLGHQFHREWDLQHGWKURXJKWKHLQYHVWLJDWLRQLQFOXGLQJHPDLOVEDQNDQGRWKHUILQDQFLDO

        UHFRUGVVKRZVWKDWIURPDSSUR[LPDWHO\$XJXVWWR6HSWHPEHU5,&$5'2

        $/%(5720$57,1(//,/,1$5(6DQG/XLV(QULTXH0DUWLQHOOL/LQDUHVWRJHWKHUZLWK

        RWKHUVWRRNDQXPEHURIVWHSVWRRSHQDQGPDQDJHVHFUHWEDQNDFFRXQWVKHOGLQWKH

        QDPHVRIVKHOOFRPSDQLHVLQIRUHLJQMXULVGLFWLRQVZKLFKZHUHXVHGWRUHFHLYHIXUWKHU

        WUDQVIHUDQGGHOLYHUEULEHSD\PHQWVWKDW2GHEUHFKWPDGHDQGFDXVHGWREHPDGHIRUWKH

        EHQHILWRIWKH3DQDPD*RYHUQPHQW2IILFLDO  6SHFLILFDOO\5,&$5'2$/%(572

        0$57,1(//,/,1$5(6DQG/XLV(QULTXH0DUWLQHOOL/LQDUHVHVWDEOLVKHGVKHOO

        FRPSDQLHVLQIRUHLJQMXULVGLFWLRQVVHUYHGDVWKHVLJQDWRULHVRQFHUWDLQRIWKHVKHOO

        FRPSDQ\EDQNDFFRXQWVDQGSHUVRQDOO\VHQWDQGFDXVHGWREHVHQWZLUHWUDQVIHUVWKURXJK

        WKHVWUXFWXUHRIVKHOOFRPSDQ\EDQNDFFRXQWVWRFRQFHDODQGVSHQGEULEHU\SURFHHGV  

    (PDLOVEDQNDQGRWKHUILQDQFLDOUHFRUGVUHYHDOHGWKDWEHWZHHQDSSUR[LPDWHO\DQG

        5,&$5'2$/%(5720$57,1(//,/,1$5(6DQG/XLV(QULTXH0DUWLQHOOL

        /LQDUHVRSHQHGEDQNDFFRXQWVLQ6ZLW]HUODQGIRUWKHSXUSRVHRIUHFHLYLQJIXUWKHU

        WUDQVIHUULQJDQGGHOLYHULQJEULEHSD\PHQWVIURP2GHEUHFKWIRUWKHEHQHILWRIWKH3DQDPD

                                                  

    Case 1:21-cr-00065-RJD Document 10 Filed 07/27/20 Page 6 of 8 PageID #: 58





        *RYHUQPHQW2IILFLDOLQWKHQDPHRIVHYHUDORIIVKRUHFRPSDQLHV WKH³2IIVKRUH&RPSDQ\

        $FFRXQWV´    

    7KHSXUSRVHRIRSHQLQJDQGRSHUDWLQJWKH2IIVKRUH&RPSDQ\$FFRXQWVZDVWRSURPRWH

        DVVLVWIDFLOLWDWHFRQFHDODQGVHUYHDVLQWHUPHGLDULHVIRU2GHEUHFKW¶VSD\PHQWRIEULEHV

        IRUWKHEHQHILWRIWKH3DQDPD*RYHUQPHQW2IILFLDOVRWKDW2GHEUHFKWFRXOGREWDLQDQ

        LPSURSHUEXVLQHVVDGYDQWDJHDQGJDLQDQGUHWDLQEXVLQHVVLQ3DQDPDE\FDXVLQJWKH

        3DQDPD*RYHUQPHQW2IILFLDOWRSHUIRUPDFWVSURSHUWRKLVKHUSRVLWLRQLQKLVKHURIILFLDO

        FDSDFLW\DQGLQYLRODWLRQRIKLVKHUREOLJDWLRQV

    ,QWRWDOEHWZHHQDSSUR[LPDWHO\DQGWKH2IIVKRUH&RPSDQ\$FFRXQWV

        UHFHLYHGDSSUR[LPDWHO\86'PLOOLRQLQEULEHSURFHHGVIURP2GHEUHFKWIRUWKH

        EHQHILWRIWKH3DQDPD*RYHUQPHQW2IILFLDODVUHYHDOHGE\ILQDQFLDOUHFRUGVDQGRWKHU

        HYLGHQFHJDWKHUHGGXULQJWKHFRXUVHRIWKHLQYHVWLJDWLRQ  $WOHDVWDSSUR[LPDWHO\86'

        PLOOLRQRIWKRVHEULEHSURFHHGVZHUHWUDQVIHUUHGWKURXJK86FRUUHVSRQGHQWEDQN

        DFFRXQWVLQFOXGLQJEDQNVLQ1HZ<RUN1HZ<RUNLQWRWKH2IIVKRUH&RPSDQ\

        $FFRXQWV

    )RUH[DPSOHILQDQFLDOUHFRUGVVKRZWKDWRQDSSUR[LPDWHO\-XO\DZLUHWUDQVIHU

        RIDSSUR[LPDWHO\86'ZDVWUDQVIHUUHGIURPDQRIIVKRUHVKHOOFRPSDQ\EDQN

        DFFRXQWFRQWUROOHGE\2GHEUHFKWDQGORFDWHGLQ3RUWXJDOWRRQHRIWKH2IIVKRUH&RPSDQ\

        $FFRXQWVFRQWUROOHGE\5,&$5'2$/%(5720$57,1(//,/,1$5(6DQG/XLV

        (QULTXH0DUWLQHOOL/LQDUHVWKURXJKDQDFFRXQWDWDEDQNLQ1HZ<RUN1HZ<RUN 

    5,&$5'2$/%(5720$57,1(//,/,1$5(6DQG/XLV(QULTXH0DUWLQHOOL/LQDUHV

        ODWHUFRQGXFWHGQXPHURXVDGGLWLRQDOILQDQFLDOWUDQVDFWLRQVWKURXJK86EDQNVVRPHRI

                                                  

    Case 1:21-cr-00065-RJD Document 10 Filed 07/27/20 Page 7 of 8 PageID #: 59





        ZKLFKZHUHORFDWHGLQ1HZ<RUN1HZ<RUNLQYROYLQJWKHSURFHHGVRIEULEHSD\PHQWV

        IURP2GHEUHFKW

    )LQDQFLDOUHFRUGVVKRZWKDWRQDSSUR[LPDWHO\)HEUXDU\/XLV(QULTXH

        0DUWLQHOOL/LQDUHVFDXVHGWKHWUDQVIHURIDSSUR[LPDWHO\86'IURPRQHRI

        WKH2IIVKRUH&RPSDQ\$FFRXQWVWKURXJKDQDFFRXQWDWDEDQNLQ1HZ<RUN1HZ<RUN

        WRDQRWKHUDFFRXQWLQWKH8QLWHG6WDWHV  5HFRUGVREWDLQHGIURPD\DFKWEURNHULQ1HZ

        <RUNVKRZWKDWWKLVWUDQVIHUZDVDSDUWLDOSD\PHQWIRUWKHSXUFKDVHRID\DFKW

    )LQDQFLDOUHFRUGVVKRZWKDWRQDSSUR[LPDWHO\1RYHPEHU5,&$5'2

        $/%(5720$57,1(//,/,1$5(6DQG/XLV(QULTXH0DUWLQHOOL/LQDUHVFDXVHGWKH

        WUDQVIHURIDSSUR[LPDWHO\86'IURPRQHRIWKH2IIVKRUH&RPSDQ\

        $FFRXQWVWRDQRWKHURIWKH2IIVKRUH&RPSDQ\$FFRXQWVWKURXJKDFFRXQWVDWDEDQNLQ

        1HZ<RUN1HZ<RUN

    )LQDQFLDOUHFRUGVVKRZWKDWRQDSSUR[LPDWHO\'HFHPEHU5,&$5'2

        $/%(5720$57,1(//,/,1$5(6DQG/XLV(QULTXH0DUWLQHOOL/LQDUHVFDXVHGWKH

        WUDQVIHURIDSSUR[LPDWHO\86'IURPRQHRIWKH2IIVKRUH&RPSDQ\$FFRXQWV

        WRDQRWKHURIWKH2IIVKRUH&RPSDQ\$FFRXQWVWKURXJKDFFRXQWVDWDEDQNLQ1HZ<RUN

        1HZ<RUN  

    )LQDQFLDOUHFRUGVVKRZWKDWRQDSSUR[LPDWHO\$XJXVW/XLV(QULTXH0DUWLQHOOL

        /LQDUHVFDXVHGWKHWUDQVIHURIDSSUR[LPDWHO\86'IURPRQHRIWKH2IIVKRUH

        &RPSDQ\$FFRXQWVWKURXJKDQDFFRXQWDWDEDQNLQ1HZ<RUN1HZ<RUNWRDQRWKHU

        DFFRXQWLQWKH8QLWHG6WDWHV  7LWOHWUDQVDFWLRQUHFRUGVVKRZWKDWWKLVWUDQVIHUZDVD



                                                  

Case 1:21-cr-00065-RJD Document 10 Filed 07/27/20 Page 8 of 8 PageID #: 60
